                                     Case 2:20-cv-05581-DSF-GJS     Document 391-1    Filed 01/17/25    Page 1 of 3 Page
                                                                        ID #:7004


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                                     9
                                    10                         UNITED STATES DISTRICT COURT
                                    11                       CENTRAL DISTRICT OF CALIFORNIA
                                    12
                                    13   BEYOND BLOND PRODUCTIONS, LLC, CASE NO.: 2:20-cv-05581 DSF (GJSx)
333 South Hope Street, Suite 4025
  MILORD LAW GROUP P.C.




                                         a California limited liability company;
     Los Angeles, CA 90071




                                    14                                            DECLARATION OF MILORD A.
         (310) 226-7878




                                    15                 Plaintiffs,                KESHISHIAN IN SUPPORT OF
                                                 v.                               PLAINTIFF’S MOTION TO COMPEL
                                    16
                                                                                  FURTHER RESPONSES AND
                                    17   EDWARD HELDMAN III, an individual; DOCUMENTS RE BEYOND BLOND
                                    18   COMEDYMX, INC., a Nevada corporation;PRODUCTIONS, LLC’S SUBPOENA
                                         COMEDYMX, LLC, a Delaware limited TO DEFENDANTS’ FORMER
                                    19   liability company; and DOES 1-10;        COUNSEL MANDOUR &
                                    20                                            ASSOCIATES, APC
                                                        Defendants.
                                    21
                                                                                  [Referred to Magistrate Judge Gail J.
                                    22   And Related Counterclaims and Third-PartyStandish]
                                    23          Claims
                                                                                  Date:        February 24, 2025
                                    24                                            Time:        3:00 p.m.
                                    25                                            Courtroom: 640 Roybal Federal Building
                                                                                                Telephone Conference
                                    26
                                    27                                               Discovery Cutoff:        03/04/2025
                                                                                     Final Pretrial Conf.:    06/30/2025
                                    28
                                                                                     Jury Trial:              07/29/2025



                                                             DECLARATION OF MILORD A. KESHISHIAN
                                     Case 2:20-cv-05581-DSF-GJS       Document 391-1      Filed 01/17/25   Page 2 of 3 Page
                                                                          ID #:7005


                                     1                     DECLARATION OF MILORD A. KESHISHIAN
                                     2         I, Milord A. Keshishian, hereby swear and affirm pursuant to 28 U.S.C. § 1746
                                     3   upon direct personal knowledge that the following is true and correct:
                                     4         1.     I am an attorney duly licensed to practice before this Court and am the
                                     5   principal of Milord Law Group, P.C., counsel of record for Plaintiff Beyond Blond
                                     6   Productions, LLC (“Beyond Blond”). Unless otherwise stated, I have first-hand personal
                                     7   knowledge of the facts stated herein and if called as a witness could competently testify
                                     8   thereto.
                                     9         2.     Attached hereto as EXHIBIT A is a true and accurate copy of Beyond
                                    10   Blond’s subpoena to Mandour & Associates, APC (“MAA”), which attached a copy of
                                    11   this Court’s Order (Dkt. 287) holding that Defendants had waived the attorney client and
                                    12   work product privilege.
                                    13                Attached hereto as EXHIBIT B is a true and accurate copy of MAA’s
333 South Hope Street, Suite 4025




                                               3.
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                                    14   responses to Beyond Blond’s subpoena, objecting to the requests based on Defendants’
         (310) 226-7878




                                    15   waived attorney client and work product privileges.
                                    16         4.     MAA objected to the Requests as seeking “documents that are subject to
                                    17   privilege separate from the privileges addressed in the Court’s Order.”
                                    18         5.     MAA propounded the same objections to all 12 requests for production that
                                    19   (1) “the requests [are] unduly burdensome as the requests seek a large volume of
                                    20   documents and documents that are subject to privilege separate from the privileges
                                    21   addressed in the Court’s Order,” and (2) the “request is also unduly burdensome as
                                    22   defendants have already been ordered to provide many of said documents via a Special
                                    23   Master and the request is therefore unnecessarily duplicative.”
                                    24         6.     Prior to filing this motion, I conferred by telephone with MAA counsel,
                                    25   Gordon Gray, on November 18, 2024, in anticipation of this Motion to compel and to
                                    26   resolve this matter by agreement, but the parties are at an impasse.
                                    27         7.     During the conference, MAA’s counsel argued that they could not produce
                                    28   documents, citing ethical violations, unless their clients waived the privilege.


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                                                               DECLARATION OF MILORD A. KESHISHIAN
                                     Case 2:20-cv-05581-DSF-GJS        Document 391-1     Filed 01/17/25   Page 3 of 3 Page
                                                                           ID #:7006


                                     1         8.     During the November 18, 2024, conference of counsel, MAA argued that the
                                     2   bankruptcy settlement agreement between Beyond Blond and Defendant ComedyMX,
                                     3   LLC and ComedyMX, Inc. relieved Heldman from having to comply with this Court’s
                                     4   Order or MAA from having to produce documents. Attached hereto as EXHIBIT C is a
                                     5   true and accurate copy of the bankruptcy settlement agreement between Beyond Blond
                                     6   and Defendant ComedyMX, LLC and ComedyMX, Inc.
                                     7         I declare under penalty of perjury under the laws of the United States of America
                                     8   that the foregoing is true and correct.
                                     9         Executed on this 17th day of January, 2025, in Los Angeles, California.
                                    10                                             /s/ Milord A. Keshishian
                                    11                                             Milord A. Keshishian
                                                                                   MILORD LAW GROUP, P.C.
                                    12                                             Attorneys for Plaintiff
                                    13                                             Beyond Blond Productions, LLC
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                                                                DECLARATION OF MILORD A. KESHISHIAN
